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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                 )
                                            )
                       Plaintiff,           )
                                            )
  v.                                        )   Case No. 18-CR-251-CVE
                                            )
  CHRISTOPHER R. PARKS,                     )
  GARY ROBERT LEE,                          )
  JERRY MAY KEEPERS,                        )
  KRISHNA BALARMA PARCHURI                  )
                                            )
                       Defendants.          )

             MOTION FOR LEAVE TO DISMISS WITHOUT PREJUDICE

        Pursuant to Rule 48(a), Federal Rules of Criminal Procedure, the United States

 hereby moves the Court for leave to dismiss without prejudice Counts One and Twenty-

 five through Thirty-three of the Superseding Indictment (Dkt. #48) filed against defendant,

 KRISHNA BALARMA PARCHURI, in the above-styled cause. In support of its motion,

 the government advises as follows:

        1.     Counsel for the United States consulted with defense counsel, Paul DeMuro,

 and he has no objection to the United States’ motion.

        2.     The government requests leave to dismiss without prejudice Counts One and

 Twenty-five through Thirty-three of the Superseding Indictment defendant, KRISHNA

 BALARMA PARCHURI in the interest of justice.
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        WHEREFORE, premises considered, plaintiff prays that the instant motion be

 granted, and for all other proper relief.

                                              Respectfully submitted,

                                              R. TRENT SHORES
                                              UNITED STATES ATTORNEY

                                               /s/ Melody N. Nelson
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                                 CERTIFICATE OF SERVICE
        I certify that on August 17, 2020, I electronically transmitted the foregoing document to
 the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic
 Filing to the following ECF registrants:

        Tom Wright
        Joe W. Bailey
        Keith Allen Ward
        Martin Gambill Hart
        Michael James King
        Michael J. Hinton
        Nora Rose O’Neill
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        Paul Demuro
        Counsel for Defendants


                                              /s/ Melody N. Nelson
                                              Melody N. Nelson
                                              Assistant United States Attorney




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